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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO


 Criminal Case No. 16-cr-00284-CMA

 UNITED STATES OF AMERICA,

           Plaintiff

 v.

DONALD ILEY

           Defendant.


                       RENEWED MOTION TO PROCEED IN FORMA PAUPERIS


          COMES NOW, the Defendant Don Iley, by through his attorney, Gary Lozow of

Foster Graham Milstein & Calisher, LLP, and requests that this Honorable Court

enter an order allowing the Defendant to proceed in forma pauperis and for

appointed counsel in further proceedings relating to a Notice of Appeal filed on

August 3, 2017, and as grounds therefor submits the following:

          1.           On July 25, 2017, the Defendant was sentenced to 151 months to be

served in federal custody.

          2.           The Defendant was remanded to federal custody on July 13, 2017 and

remains in custody.




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          3.           The length of the Defendant’s sentence entitles the Defendant to appeal

the sentence [DOC #21, Plea Agreement].

          4.           The Defendant filed his Notice of Appeal on August 3, 2017 [Doc. 62].

          5.           The Defendant is indigent. Defendant submits the attached affidavit in

support of his request for appointed counsel. (See Exhibit A, CJA Financial

Affidavit).

          6.           The Defendant has been ordered to pay $9,718,327.68 in restitution.

          7.           The Defendant does not have the funds to pay for the necessary costs,

or for an attorney, or the appeal to the Tenth Circuit Court of Appeals.

          8.           The Defendant does not have the funds to retain private counsel for his

appeal. Counsel of record was not retained to pursue the Defendant’s appellate

rights.

          9.           Defendant’s first in pauperis request did not specify that the Defendant

was seeking an in pauperis determination relating to his constitutional right to

counsel and for necessary costs. Indeed, counsel for the Defendant advanced the

original appellate costs.

          10.          The Sixth Amendment provides that “in all criminal prosecutions the

accused shall enjoy the right . . . to have the assistance of counsel for is defense.”

United States Constitution, Amend. VI; Argensinger v. Hamlin, 407 U.S. 25, 3792 S.Ct.

2006, 321 L.Ed.2d 530 (1972).


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          11.          Congress passed the Criminal Justice Act of 1964. Congress recognized

that “all defendants are entitled to help at every stage of a criminal proceeding . . . .”

United States v. Burnett, 989 F.2d 100, 101 (2nd Cir. 1993).

          12.          “If at any stage of the proceedings, including an appeal, the United

States magistrate judge or the court finds that the person is financially unable to pay

counsel whom he had retained, it may appoint counsel as provided in

subsection (b).” 18 U.S.C. § 3006A(c).

          13.          The Court must make an appropriate “inquiry” into financial ability

under 18 U.S.C. § 3006A.

          14.          The economic realities of Defendant’s financial status are reflected in

his present incarceration, his prior bankruptcy, his obligation to pay restitution, and

his Financial Affidavit of August 16, 2017. (See also Exhibit B, Financial Affidavit

dated August 16, 2017).

          15.          The Defendant has no source of income nor financial ability to pay for

private counsel for his appellate proceeding.

          Wherefore, the Defendant prays that this Honorable Court enter an order

allowing him to proceed in forma pauperis on appeal and for an appointment of

counsel.

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          Respectfully submitted this 12th day of September 2017.

                                    FOSTER GRAHAM MILSTEIN & CALISHER LLP

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                                    ATTORNEYS FOR DEFENDANT
                                    DON ILEY




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                                      CERTIFICATE OF SERVICE

           I hereby certify that on the 12th day of August 2017, I electronically filed the

 foregoing to the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to the following:

                       J. Chris Larson
                       Assistant United States District Attorney
                       j.chris.larson@usdoj.gov

                       Tonya Shotwell Andrews
                       Assistant United States District Attorney
                       Tonya.andrews@usdoj.gov



                                                  s/ Donna M. Brummett
                                                  Donna M. Brummett




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